                                                                       Entered on Docket
                                                                       May 23, 2014
                                                                       EDWARD J. EMMONS, CLERK
                                                                       U.S. BANKRUPTCY COURT
                                                                       NORTHERN DISTRICT OF CALIFORNIA
                  1      EDWARD J. TREDINNICK (#84033)
                         GREENE RADOVSKY MALONEY
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                  7                                   UNITED STATES BANKRUPTCY COURT
                  8                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
                  9                                               SANTA ROSA DIVISION
                10

                11       In re                                                 Case No.: 05-11371
                12       Charles Timothy Bailey and Barbara Ann                Chapter 7
                         Bailey,
                13
                                                                               ORDER AUTHORIZING TRUSTEE TO
                14                                         Debtors.            DEPOSIT FUNDS INTO COURT
                                                                               REGISTRY                    .


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                17                      Upon the Ex Parte Motion of the Trustee to Deposit Funds into the Court Registry field

                18       by Jeffry G. Locke, Trustee of the above-referenced estate (“Trustee”) and it appearing from the

                19       Motion that the Trustee is holding funds from the sale of real property attributable to the co-ownership

                20       interest of Tracy Lynn Peterson in the sum of $23, 350.80 and that the Trustee is unable to obtain

                21       information on the whereabouts of Tracy Lynn Peterson, and good causing appearing therefor,

                22                      IT IS HEREBY ORDERED that the Trustee shall pay directly into the Court Registry

                23       the sum of $23,350.80 for the benefit of Tracy Lynn Peterson.

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                         DATED: May 23, 2014
                                                                                S
                                                                               Alan Jaroslovsky
                                                                               Chief Bankruptcy Judge

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                28
GREENE RADOVSKY          ORDER AUTHORIZING TRUSTEE TO                         1
M ALONEY & SHARE LLP
FOUR EMBARCADERO
                         DEPOSIT FUNDS IN COURT REGISTRY
CTR, SUITE 4000                                                                                                45489/0831/453688.1
SAN FRANCISCO, CA
94111
                       Case: 05-11371      Doc# 31     Filed: 05/23/14    Entered: 05/23/14 09:33:35       Page 1 of 1
